                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )      Case No. 09-00156-07-CR-W-DW
                                              )
ROGER WILLIAM WEBB,                           )
                                              )
                       Defendant.             )


                             REPORT AND RECOMMENDATION

       Pending before the Court is the issue of whether defendant Webb’s competency has been

restored. For the reasons set forth below, it is recommended that the Court find that defendant Webb

has recovered to such an extent that he is able to understand the nature and consequences of the

proceedings against him and to assist properly in his defense.

                                       I. BACKGROUND

       On May 19, 2009, the Grand Jury returned a nine count indictment against defendant Roger

Webb and eight other individuals. Defendant Webb was charged with conspiracy to manufacture

and distribute a substance containing a detectable amount of methamphetamine in an amount of 500

grams or more (Count One) and conspiracy to possess a listed chemical, pseudoephedrine, with the
intent to manufacture a controlled substance and possess and distribute pseudoephedrine knowing

or having reasonable cause to believe that the pseudoephedrine would be used to manufacture a

controlled substance (Count Two). On November 30, 2009, defendant Webb entered a plea of guilty

to Count Two of the Indictment. (Doc #159)

       On January 13, 2010, counsel for the defendant filed a motion pursuant to 18 U.S.C. § 4241

asking for a determination of defendant’s mental competency. (Doc #186) The Court committed

the defendant to the custody of the Attorney General for placement in a suitable facility to undergo

the requested examination. (Doc #187) Defendant was examined at the Federal Detention Center

at Englewood, Colorado. A Forensic Evaluation was filed on May 26, 2010. (Doc #195) On June



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8, 2010, a hearing was held on the issue of defendant’s mental competency. The only evidence

presented at the hearing was the Forensic Evaluation prepared by Dr. David Morrow of the Federal

Detention Center at Englewood, Colorado. Based upon the testing and evaluations described in the

Forensic Evaluation, Dr. Morrow concluded that “Mr. Webb is currently suffering from a mental

disease or defect rendering him unable to understand the nature and consequences of the proceedings

against him or properly assist in his defense.” (Forensic Evaluation at 10) Accordingly, the

undersigned recommended that the District Judge find the defendant incompetent and commit him

to the custody of the Attorney General pursuant to 18 U.S.C. § 4241(d)(1). (Doc #199) Judge

Whipple adopted this Report and Recommendation (doc #205) and defendant was hospitalized at

the Federal Medical Center in Butner, North Carolina.

       A Forensic Evaluation was filed on August 9, 2011, (Doc #306) On August 12, 2011, the

parties agreed that the defendant would benefit from an additional 120 days of treatment at the

Federal Medical Center in Butner. (Doc #309) A second Forensic Evaluation from the Federal

Medical Center in Butner, North Carolina was filed on March 5, 2012. (Doc #319) On March 7,

2012, the undersigned held a hearing on the issue of whether defendant’s competency had been

restored. The parties stipulated to the Forensic Evaluation prepared by Angela Walden Weaver,

Ph.D., Staff Psychologist; Tracy O’Connor Pennuto, Ph.D., Staff Neuropsychologist; and Robert

G. Lucking, M.D., Staff Psychiatrist. (Doc #319)

                                         II. DISCUSSION
       After there has been an adjudication of incompetence and the defendant has been committed

to the Attorney General for a determination as to whether there is a substantial probability that in

the foreseeable future the defendant will attain the capacity to permit the proceedings to go forward,

as in this case, pursuant to 18 U.S.C. § 4241(e), the burden of persuasion shifts to the Government.

See United States v. Cabrera, 2008 WL 2374234, *6 (S.D. Fla. June 6, 2008). As set forth in

Cabrera, “the court must find by a preponderance of the evidence that the defendant has recovered

to such an extent that he is able to understand the nature and consequences of the proceedings


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against him and to assist properly in his defense.” Id.

       The evaluators noted that the defendant had previously been diagnosed with Major

Depressive Disorder, anhedonia, insomnia, psychomotor retardation, fatigue or loss of energy,

feelings of worthlessness, diminished ability to think or concentrate, indecisiveness, and pessimism.

(Forensic Evaluation (doc #319) at 12-13) However, since being treated with an antidepressant, they

concluded that defendant no longer exhibited signs of depression. (Id. at 13) In addition to the

bupropion, prescribed for his depression, defendant was also prescribed medication for the treatment

of a number of medical illnesses including glipizide, hydrochlorothiazide, levothyroxine, lisinopril,

Metformin, metoprolol and simvastatin. (Id. at 16)1

       While the evaluators recognized that defendant likely has some cognitive deficits, due to

inconsistent and suboptimal performance, test results were considered an underestimate of his true

abilities. (Forensic Evaluation (doc #319) at 13) The primary clinician reviewed the Presentence

Investigative Report (PSIR) with defendant.

       During meetings with the primary clinician and other staff, Mr. Webb was able to
       express himself in an intelligent, coherent and relevant manner. He remained
       sufficiently alert and responsive during hours of testing, interviews and group;
       although he seemed to fatigue after about two hours and needed a break. ... In our
       opinion Mr. Webb would be able to discuss relevant information with his attorney.
       His memory problems and other cognitive deficits would not prevent him from being
       able to allocute at the time of sentencing. ...

(Id. at 15-16) Based upon the totality of their testing and meetings with defendant, the evaluators
concluded that “Mr. Webb is able to understand the nature and consequences of the proceedings

against him and to assist in his defense.” (Id. at 13)
                                        III. CONCLUSION

       Based upon the undisputed information before the Court, it is

       RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order finding that defendant Webb has recovered to such an extent that he

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          Kenton Hall, defense counsel, indicated at the hearing that, in his view, the continuation
of this treatment regime was critical to defendant’s continued competency.


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is able to understand the nature and consequences of the proceedings against him and to assist

properly in his defense.

       Counsel are reminded they have fourteen days from the date of receipt of a copy of this

Report and Recommendation within which to file and serve objections to same. A failure to file and

serve objections by this date shall bar an attack on appeal of the factual findings in this Report and

Recommendation which are accepted or adopted by the district judge, except on the grounds of plain

error or manifest injustice.



                                                               /s/ Sarah W. Hays
                                                               SARAH W. HAYS
                                                      UNITED STATES MAGISTRATE JUDGE




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